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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS


 OSCAR MOLINA, Plaintiff,                          Civil Action No.: 3:21-pq-
                                                   Related to MDL No. 3004
 v.

 SYNGENTA AG; SYNGENTA CROP
 PROTECTION, LLC; and DOES 1                       COMPLAINT FOR DAMAGES
 through 60 inclusive,

        Defendants.                                DEMAND FOR JURY TRIAL




       Plaintiff OSCAR MOLINA, by and through counsel, alleges upon information and belief and

complains of Defendants Syngenta AG (“SAG”) and Syngenta Crop Protection, LLC (“SCPLLC”)

(together with their predecessors-in-interest, referred to collectively as the “Syngenta Defendants”);

and Does One through Sixty, states:

                                 STATEMENT OF THE CASE

       1.         Plaintiff OSCAR MOLINA suffers from Parkinson’s disease caused by his

exposure to the herbicide Paraquat.

       2.      Plaintiff OSCAR MOLINA is a resident of Buffalo Gap, Texas.

       3.        Defendants are companies that since the 1960s have manufactured, distributed,

licensed, marketed, and sold Paraquat for use in the United States, including Texas and California.

       4.        Plaintiff OSCAR MOLINA brings this action to recover damages for personal

injuries resulting from his exposure to Paraquat that was manufactured, distributed, and sold by

defendants.
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        5.      Defendants’ tortious conduct, including their negligent acts and omissions in the

research, testing, design, manufacture, marketing, and sale of Paraquat, caused Plaintiff OSCAR

MOLINA’s injuries. At all relevant times, Defendants knew or, in the exercise of reasonable care,

should have known that Paraquat was a highly toxic substance that can cause severe neurological

injuries and impairment, and should have taken steps in their research, manufacture, and sale of

Paraquat to ensure that people would not be harmed by foreseeable uses of Paraquat.

                                          JURISDICTION

        6.      This Court has jurisdiction over Defendants and this action pursuant to 28 U.S.C.

§ 1332 because there is complete diversity of citizenship between Plaintiff and each Defendant.

Indeed, Plaintiff is a resident of Texas; SCPLLC is a Delaware limited liability company with its

principal place of business in Greensboro, North Carolina (SCPLLC is a wholly-owned subsidiary

of Defendant SAG); SAG is a foreign corporation with its principal place of business in Basel,

Switzerland. Defendants are all either incorporated and/or have their principal place of business

outside of the state in which the Plaintiff resides.

        7.       The amount in controversy between Plaintiff and Defendants exceeds $75,000,

exclusive of interest and cost.

                                               VENUE

        8.      Venue is proper in the Southern District of Illinois pursuant to Case Management

Order No. 1 of MDL No. 3004, In re: Paraquat Products Liability Litigation, allowing cases that

would be subject to transfer to the MDL to be filed directly in the Southern District of Illinois. In

re: Paraquat Products Liability Litigation, 3:21-md-03004-NJR ECF #16. This complaint alleges

injury due to Paraquat, is subject to jurisdiction of the federal courts due to the diversity of the

parties, and is subject to transfer pursuant to 28 U.S.C. § 1407 and the transfer order of the Judicial
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Panel on Multidistrict Litigation. In re: Paraquat Products Liability Litigation, --- F. Supp. 3d ---

, 2021 WL 2369295 (J.P.M.L. June 7, 2021).

       9.      If not for MDL 3004 Case Management Order No. 1, venue is proper within the

Northern District of California pursuant to 28 U.S.C. § 1391 because Defendants conduct business

there and are subject to personal jurisdiction in that District. Defendants sell, market, and/or

distribute Paraquat within the Northern District of California..

       10.     The United States District Court for the Northern District of California also has

personal jurisdiction over each of the Defendants in this diversity case because a state court of

California would have such jurisdiction, in that:

               a.     Over a period of six (Syngenta Defendants) decades, each Defendant and/or

       its predecessor(s), together with those with whom they were acting in concert,

       manufactured Paraquat for use as an active ingredient in Paraquat products, distributed

       Paraquat to formulators of Paraquat products, formulated Paraquat products, marketed

       Paraquat products to the California agricultural community, and/or distributed Paraquat

       products, intending that such products would be regularly, and knowing they regularly

       were, sold and used in the State of California;

               b.      Plaintiff’s claims against each Defendant arise out of these contacts between
       the Defendant and/or its predecessor(s), together with those with whom they were acting

       in concert, with the State of California; and

               c.      These contacts between each Defendant and/or its predecessors, together

       with those with whom they were acting in concert, and the State of California, were so




       regular, frequent, and sustained as to provide fair warning that it might be hauled into court

       there, such that requiring it to defend this action in the State of California does not offend

       traditional notions of fair play and substantial justice.
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                                 INTRADISTRICT ASSIGNMENT

       11.       This action arises from the actions of Defendants. If not for MDL 3004 Case

Management Order No.

1, this claim may be assigned to either the San Francisco Division or the Oakland Division

pursuant to Local Rule 3-2(c).

                                           PARTIES

       12.       The true names or capacities whether individual, corporate, governmental or

associate, of the defendants named herein as Doe are unknown to Plaintiff who therefore sues said

defendants by such fictitious names. Plaintiff prays for leave to amend this Complaint to show

their true names and capacities and/or bases for liability when the same have been finally

determined.

       13.     Plaintiff is informed and believes, and upon such information and belief alleges,

that each of the Defendants designated herein as Doe is strictly, negligently, or otherwise legally

responsible in some manner for the events and happenings herein referred to, and negligently or

otherwise caused injury and damages proximately to Plaintiff as is hereinafter alleged.

       14.     At all times herein mentioned, each and every one of the Defendants was the agent,

servant, employee, joint venturer, alter ego, successor-in-interest, and predecessor-in-interest of

each of the other, and each was acting within the course and scope of their agency, service, joint

venture, alter ego relationship, employment, and corporate interrelationship.

       15.       U.K. manufacturer Imperial Chemical Industries Ltd. a/k/a Imperial Chemical

Industries PLC (“ICI”) first introduced Paraquat to world markets in or about 1962 under the brand

name GRAMOXONE®.




       16.     In or about 1971, ICI created or acquired a wholly-owned U.S. subsidiary organized

under the laws of the State of Delaware, which was ultimately known as ICI Americas Inc. (“ICI
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 Americas”).

           17.    After 1986, SCPLLC, Does One through Sixty, and/or their predecessors-in-

 interest sold and distributed and continue to sell and distribute Paraquat in the United States,

 including in California for use in California and in Texas for use in Texas.

           18.    As a result of mergers and corporate restructuring, SAG is the successor-in-interest

 to ICI.

           19.    As a result of mergers and corporate restructuring, SCPLLC is the successor-in-

 interest to ICI Americas, Inc.

           20.    Thus, from approximately 1964 through the present, the Syngenta Defendants, Does

 One through Sixty, or their predecessors-in-interest have manufactured, formulated, distributed, and

 sold Paraquat for use in the U.S., including in California for use in California and in Texas for use

 in Texas.

             PLAINTIFF OSCAR MOLINA’S EXPOSURE TO PARAQUAT

           21.    At all relevant times, Plaintiff OSCAR MOLINA was a groundskeeper who was

exposed to Paraquat from approximately 2005 to 2010 in Texas.

           22.    At all relevant times, Plaintiff OSCAR MOLINA was exposed to Paraquat:

 (1) when it was mixed, loaded, applied, and/or cleaned; (2) as a result of spray drift (the movement

 of herbicide spray droplets from the target area to an area where herbicide application was not

 intended, typically by wind); and/or (3) as a result of contact with sprayed plants.

           23.    At all relevant times, it was reasonably foreseeable that when Paraquat was used in

 the intended or a reasonably foreseeable manner, users of Paraquat and persons nearby would be

 exposed to it.

           24.    At all relevant times, it was reasonably foreseeable that Paraquat could enter the

 human body: (1) through absorption or penetration of the skin, mucous membranes, and other

 epithelial tissues (including tissues of the mouth, nose and nasal passages, trachea, and conducting

 airways, particularly where cuts, abrasions, rashes, sores, or other tissue damage were present); (2)
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through the olfactory bulb; (3) through respiration into the lungs; and (4) through ingestion into

the digestive tract of small droplets swallowed after entering the mouth, nose, or conducting

airways.

                        PARAQUAT CAUSES PARKINSON’S DISEASE

       25.     At all relevant times, it was reasonably foreseeable that Paraquat that entered a

human body could ultimately enter the brain.

       26.     At all relevant times, it was reasonably foreseeable that Paraquat that entered a

human body could induce the misfolding of the alpha synuclein protein.

       27.      Parkinson’s disease is a progressive neurodegenerative disorder of the brain that

affects primarily the motor system–the part of the central nervous system that controls movement.

       28.     The characteristic symptoms of Parkinson’s disease are its “primary” motor
symptoms: resting tremor (shaking movement when the muscles are relaxed), bradykinesia

(slowness in voluntary movement and reflexes), rigidity (stiffness and resistance to passive

movement), and postural instability (impaired balance).

       29.     Parkinson’s disease’s primary motor symptoms often result in “secondary” motor

symptoms such as freezing of gait; shrinking handwriting; mask-like expression; slurred,

monotonous, quiet voice; stooped posture; muscle spasms; impaired coordination; difficulty

swallowing; and excess saliva and drooling caused by reduced swallowing movements.

       30.     Non-motor symptoms—such as loss of or altered sense of smell; constipation; low

blood pressure on rising to stand; sleep disturbances; and depression—are present in most cases

of Parkinson’s disease, often for years before any of the primary motor symptoms appear.

       31.     There is currently no cure for Parkinson’s disease; no treatment will stop or reverse

its progression; and the treatments most commonly prescribed for its motor symptoms tend to

become progressively less effective and tend to increasingly cause unwelcome side effects the

longer they are used.
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         32.     One of the primary pathophysiological hallmarks of Parkinson’s disease is the

selective degeneration and death of dopaminergic neurons (dopamine-producing nerve cells) in a

part of the brain called the substantia nigra pars compacta (“SNpc”).

         33.    Dopamine is a neurotransmitter (a chemical messenger that transmits signals from

one neuron to another neuron, muscle cell, or gland cell) that is critical to the brain’s control of

motor function (among other things).

         34.     The death of dopaminergic neurons in the SNpc decreases the production of

dopamine. Once dopaminergic neurons die, they are not replaced; when enough dopaminergic

neurons have died, dopamine production falls below the level the brain requires for proper control

of motor function, resulting in the motor symptoms of Parkinson’s disease.

         35.     The presence of Lewy bodies (insoluble aggregates of a protein called alpha-

synuclein) in many of the remaining dopaminergic neurons in the SNpc is another of the primary

pathophysiological hallmarks of Parkinson’s disease.

         36.   Dopaminergic neurons are particularly susceptible to oxidative stress, a disturbance

in the normal balance between oxidants present in cells and cells’ antioxidant defenses.

         37.   Scientists who study Parkinson’s disease generally agree that oxidative stress is a

major factor in—if not the precipitating cause of—the degeneration and death of dopaminergic

neurons in the SNpc and the accumulation of Lewy bodies in the remaining dopaminergic neurons

that are the primary pathophysiological hallmarks of the disease.

         38.   Paraquat is highly toxic to both plants and animals, creating oxidative stress that

causes or contributes to cause the degeneration and death of plant or animal cells.

         39.   Paraquat creates oxidative stress in the cells of plants and animals because of “redox

properties” that are inherent in its chemical composition and structure: it is a strong oxidant, and it

readily undergoes “redox cycling” in the presence of molecular oxygen, which is plentiful in living

cells.
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       40.       The redox cycling of Paraquat in living cells interferes with cellular functions that

are necessary to sustain life—with photosynthesis in plant cells, and with cellular respiration in

animal cells. The redox cycling of Paraquat in living cells creates a “reactive oxygen species”

known as superoxide radical, an extremely reactive molecule that can initiate a cascading series of

chemical reactions that creates other reactive oxygen species that damage lipids, proteins, and

nucleic acids, molecules that are essential components of the structures and functions of living

cells. Because the redox cycling of Paraquat can repeat indefinitely in the conditions typically

present in living cells, a single molecule of Paraquat can trigger the production of countless

molecules of destructive superoxide radical.

       41.       Paraquat’s redox properties have been known to science since at least the 1930s.

       42.       It has been scientifically known since the 1960s that Paraquat (due to its redox

properties) is toxic to the cells of plants and animals. The same redox properties that make

Paraquat toxic to plant cells and other types of animal cells make it toxic to dopaminergic neurons

in humans– that is, Paraquat is a strong oxidant that interferes with the function of, damages, and

ultimately kills dopaminergic neurons in the human brain by creating oxidative stress through

redox cycling.

       43.       Paraquat is one of only a handful of toxins that scientists use to produce animal

models of Parkinson’s disease, i.e., use in a laboratory to artificially produce the symptoms of

Parkinson’s disease in animals.

       44.       Animal studies involving various routes of exposure have found that Paraquat

creates oxidative stress that results in the degeneration and death of dopaminergic neurons in the

SNpc, other pathophysiology consistent with that seen in human Parkinson’s disease, and motor

deficits and behavioral changes consistent with those commonly seen in human Parkinson’s

disease.
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       45.       Hundreds of in vitro studies (experiments in a test tube, culture dish, or other

controlled experimental environment) have found that Paraquat creates oxidative stress that results

in the degeneration and death of dopaminergic neurons (and many other types of animal cells).

       46.     Epidemiological studies have found that exposure to Paraquat significantly

increases the risk of contracting Parkinson’s disease. A number of studies have found that the risk

of Parkinson’s disease is more than double in populations with occupational exposure to Paraquat

compared to populations without such exposure.

       47.         These convergent lines of evidence (toxicology, animal experiments, and

epidemiology) demonstrate that Paraquat exposure generally can cause Parkinson’s disease.

                                  PARAQUAT REGULATION

       48.     The Federal Insecticide, Fungicide, and Rodenticide Act (“FIFRA”), 7 U.S.C. §

136 et seq., which regulates the distribution, sale, and use of pesticides within the U.S., requires

that pesticides be registered with the U.S. Environmental Protection Agency (“EPA”) prior to their

distribution, sale, or use, except as described by FIFRA. 7 U.S.C. 136a(a).

       49.     The California Food & Agric. Code § D. 7, Ch. 2, which regulates the labeling,

distribution, use, and application of pesticides within the State of California, requires that

pesticides be registered with the California Department of Pesticide Regulation (“CDPR”) before

they are offered for sale in the State of California. Cal. Food & Agric. Code § 12811.

       50.     Paraquat is a “restricted use pesticide” under federal law, see 40 C.F.R. § 152.175,

which means it is “limited to use by or under the direct supervision of a certified applicator,” and it

cannot be sold, used, or possessed by any person in Texas without the proper licensing and

permitting. Additionally, Paraquat is a “restricted material” under California law, see Cal. Code

Regs. tit. 3, § 6400(e), which means it cannot be sold, used, or possessed by any person in

California without the proper licensing and permitting.
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        51.       As part of the pesticide registration process, the EPA requires, among other things,

 a variety of tests to evaluate the potential for exposure to pesticides, toxicity to people and other

 potential non-target organisms, and other adverse effects on the environment.

        52.       As a general rule, FIFRA requires registrants, the chemical companies registered to

 sell the pesticides, to perform health and safety testing of pesticides. However, FIFRA does not

 require the EPA itself to perform health and safety testing of pesticides, and the EPA generally

 does not perform such testing.

        53.       The EPA registers (or re-registers) a pesticide if it is persuaded, based largely on

 studies and data submitted by the registrant, that: (1) its composition is such as to warrant the

 proposed claims for it, 7 U.S.C. § 136a(c)(5)(A); (2) its labeling and other material required to be

 submitted comply with the requirements of FIFRA, 7 U.S.C. § 136a(c)(5)(B); (3) it will perform

 its intended function without unreasonable adverse effects on the environment, 7 U.S.C. §

 136a(c)(5)(C); and (4) when used in accordance with widespread and commonly

 recognized practice it will not generally cause unreasonable adverse effects on the environment,

 7 U.S.C. §

 136a(c)(5)(D).

        54.         FIFRA defines “unreasonable adverse effects on the environment” as “any

 unreasonable risk to man or the environment, taking into account the economic, social, and

 environmental costs and benefits of the use of any pesticide.” 7 U.S.C. § 136(bb).

        55.       Under FIFRA, “[a]s long as no cancellation proceedings are in effect registration of

 a pesticide shall be prima facie evidence that the pesticide, its labeling and packaging comply with

 the registration provisions of [FIFRA].” 7 U.S.C. § 136a(f)(2). However, FIFRA further provides

 that “[i]n no event shall registration of an article be construed as a defense for the commission of

 any offense under [FIFRA].” 7 U.S.C. § 136a(f)(2).
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        56.     The distribution or sale of a pesticide that is misbranded is an offense under FIFRA,

 which provides in relevant part that “it shall be unlawful for any person in any State to distribute or

 sell to any person ... any pesticide which is ... misbranded.” 7 U.S.C. § 136j(a)(1)(E). A pesticide is

 misbranded under FIFRA if, among other things: (1) its labeling bears any statement, design, or

 graphic representation relative thereto or to its ingredients which is false or misleading in any

 particular, 7 U.S.C. § 136(q)(1)(A); (2) the labeling accompanying it does not contain directions for

 use which are necessary for effecting the purpose for which the product is intended and if complied

 with, together with any requirements imposed under section 136a(d) of this title, are adequate to

 protect health and the environment, 7 U.S.C. § 136(q)(1)(F); or (3) the label does not contain a

 warning or caution statement which may be necessary and if complied with, together with any

 requirements imposed under section 136a(d) of this title, is adequate to protect health and the

 environment,” 7 U.S.C. § 136(q)(1)(G).

        57.      As a result, a pesticide may be misbranded despite an EPA determination that it

 met FIFRA’s registration criteria. In other words, notwithstanding its registration, a pesticide is

 misbranded if its label contains “false or misleading” statements, has inadequate instructions for

 use, or omits warnings or cautionary statements necessary to protect human health. Similarly, a

 pesticide may be found to cause unreasonable adverse effects on humans when used according to

 the approved label despite a determination by the EPA that it would not.

        58.      Plaintiff does not seek in this action to impose any labeling or packaging

 requirement in addition to or different from those required under FIFRA on Defendants. Any

 allegation in this Complaint that a Defendant breached a duty to provide adequate directions for

 the use of or warnings about Paraquat, breached a duty to provide adequate packaging for Paraquat,

 concealed, suppressed, or omitted to disclose any material fact about Paraquat, or engaged in any

 unfair or deceptive practice regarding Paraquat, is intended and should be construed to be
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 consistent with that alleged breach, concealment, suppression, or omission, or unfair or deceptive

 practice having rendered the Paraquat “misbranded” under FIFRA. However, Plaintiff brings

 claims and seeks relief in this action only under state law, and do not bring any claims or seek

 any relief in this action under FIFRA.
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                                    Acts of Syngenta Defendants

        59.     SAG is a foreign corporation organized and existing under the laws of Switzerland,

 with its principal place of business in Basel, Switzerland. It is a successor by merger or continuation

 of business to its corporate predecessors, including but not limited to ICI.

        60.     SCPLLC is a limited liability company organized under the laws of the State of

 Delaware. It is a successor by merger or continuation of business to its corporate predecessors,

 including but not limited to ICI Americas. SCPLLC is registered with the State of California

 and the State of Texas through their respective Secretaries of States to do business in the State of

 California and the State of Texas.

        61.      SCPLLC or its corporate predecessors have sufficient minimum contacts with the

 State of California and State of Texas and have purposefully availed themselves of the privileges

 of conducting business in the State of California and State of Texas, in that they:

                a.        secured and maintained the registration of Paraquat products and other

        pesticides with the CDPR to enable themselves and others to manufacture, distribute, sell,

        and use these products in the State of California and State of Texas;

                b.      marketed, licensed, advertised, distributed, sold, and delivered Paraquat and

        other pesticides to chemical companies, licensees, distributors, and dealers whom they

        expected to distribute and sell Paraquat and other pesticides in or for use in the State of

        California and State of Texas, including “Syngenta Retailers,” as well as to applicators

        and farmers in the State of California and State of Texas;

                c.       employed or utilized sales representatives to market and sell Paraquat and

        other pesticides in California and State of Texas;
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                d.      maintained several locations throughout the State of California, including

        in the towns of Sanger, Granite Bay and Roseville;

                e.      attended meetings of the CDPR’s Pesticide Registration and Evaluation

        Committee relating to the registration of their pesticides, including Paraquat;

                f.      sponsored continuing education seminars for the CDPR at various locations

        in the State of California, including the towns of Oxnard, Seal Beach, Rancho Santa Fe,

        Somis, Orcutt, Woodland and Pala;

                g.      utilized California state courts to promote their pesticide business, including

        filing an action against the CDPR and another pesticide manufacturer for allegedly using

        Syngenta data to obtain approval of pesticides for others without its consent, see Syngenta

        Crop Prot., Inc. v. Helliker (2006) 138 Cal.App.4th 1135; and filing an action against the

        California EPA’s Office of Environmental Health Hazard Assessment challenging the

        agency’s decision to list its pesticide atrazine as a chemical known to cause reproductive

        toxicity under Proposition 65, see Syngenta Crop Protection v. OEHHA (Sacramento

        Superior Court Case No. 34-2014-800001868); and

                h.      performed and funded the testing of pesticides in the State of California.

        62.     SCPLLC’s contacts with the State of California and State of Texas are related to

 or gave rise to this controversy.

        63.     SAG exercises an unusually high degree of control over SCPLLC, such that

 SCPLLC is the agent or mere instrumentality of SAG. SCPLLC’s contacts with California and

 Texas are thus imputed to SAG for purposes of jurisdiction. See City of Greenville, Ill. v.

 Syngenta Crop Prot., Inc., 830 F. Supp. 2d 550 (S.D. Ill. 2011).
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         DEFENDANTS’ TORTIOUS CONDUCT RESULTED IN PLAINTIFF OSCAR
               MOLINA DEVELOPING PARKINSON’S DISEASE

          64.    Plaintiff OSCAR MOLINA hereby refers to, incorporates, and re-alleges by this

 reference as though set forth in full, each and every allegation hereinabove and makes them a part

 of the following allegations.

          65.    Plaintiff OSCAR MOLINA is a resident of Buffalo Gap, Texas.

          66.   Plaintiff OSCAR MOLINA was exposed to Paraquat manufactured and sold by

 Defendants.

          67.   Plaintiff OSCAR MOLINA worked as a groundskeeper in Abilene, Texas from 2005

 to 2010, where he personally handled and sprayed Paraquat.

          68.   During this time, Plaintiff OSCAR MOLINA was in close contact to the Paraquat

 that was designed, manufactured, and distributed by Defendants, and each of them. During this

 time, Plaintiff OSCAR MOLINA would load and regularly spray Paraquat.

          69.    Plaintiff OSCAR MOLINA had never received any training in preparing

 Paraquat for application or in applying Paraquat.

          70.    The Paraquat to which Plaintiff OSCAR MOLINA was exposed entered his body

 (1) through absorption or penetration of the skin, mucous membranes, and other epithelial tissues

 (including tissues of the mouth, nose and nasal passages, trachea, and conducting airways,

 particularly where cuts, abrasions, rashes, sores, or other tissue damage are present); and/or (2)

 through the olfactory bulb; and/or (3) through respiration into the lungs; and/or (4) through

 ingestion into the digestive tract of small droplets swallowed after entering the mouth, nose, or

 conducting airways. Once absorbed, the Paraquat entered his bloodstream, attacked his nervous

 system, and was a substantial factor in causing him to suffer Parkinson’s disease.

          71.     Plaintiff OSCAR MOLINA was diagnosed with Parkinson’s disease on or about

 2019.
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        72.      Plaintiff OSCAR MOLINA had no reason to suspect the diagnosis was connected

 to his past Paraquat exposure.

        73.     Plaintiff OSCAR MOLINA was never told, either by a medical professional, by

 media, or by the Defendants, that chronic, low-dose exposure to Paraquat could cause him to suffer

 Parkinson’s disease.

        74.     When Plaintiff OSCAR MOLINA was exposed to paraquat, he neither knew nor

 could have expected that wearing gloves, a mask, or other personal protective equipment or taking

 any other precautions might have prevented or reduced the risk of a neurological injury or

 neurodegenerative disease caused by exposure to Paraquat.

        75.     Plaintiff OSCAR MOLINA first became aware of Paraquat’s role in
 causing his Parkinson’s disease and the wrongful acts of the Defendants that caused or contributed

 to his developing Parkinson’s disease within a year of the filing date of this Complaint.

        76.     Plaintiff OSCAR MOLINA did not discover this earlier because he had no reason

 to suspect that him working with Paraquat could cause him to suffer Parkinson’s disease.

        77.      Defendants’ acts and omissions were a legal, proximate, and substantial factor in

 causing Plaintiff OSCAR MOLINA to suffer severe and permanent physical injuries, pain, mental

 anguish, and disability, and will continue to do so for the remainder of his life.

        78.     By reason of the premises, it became necessary for Plaintiff OSCAR MOLINA to

 incur expenses from medical care and treatment, and related costs and expenses required in the

 care and treatment of said injuries. Plaintiff OSCAR MOLINA’s damages in this respect are

 presently unascertained as said services are still continuing.

        79.     By reason of the premises, it will be necessary for Plaintiff OSCAR MOLINA to

 incur future expenses for medical care and treatment, and related costs and expenses required for

 future care and treatment. Plaintiff’s damages in this respect are presently unascertained as said
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 services are still continuing. Plaintiff prays leave to insert elements of damages in this respect

 when the same are finally determined.

        80.      By reason of the premises, Plaintiff OSCAR MOLINA has been unable to continue

 Plaintiff’s regular employment, incurring special damages in a presently unascertained sum as said

 loss is still continuing. Plaintiff prays leave to insert elements of damages regarding past wage

 loss, future wage loss, and lost earning capacity when the same are finally determined.

        81.      By reason of the premises, Plaintiff has suffered general (non-economic) damages

 in a sum in excess of the jurisdictional minimum of this Court.

        82.     By reason of the premises, Plaintiff has suffered special (economic) damages in a
 sum in excess of the jurisdictional minimum of this Court.

                                      CAUSES OF ACTION

                                    COUNT I
                     STRICT PRODUCTS LIABILITY DESIGN DEFECT

        83.      Plaintiff OSCAR MOLINA incorporates by reference each allegation set forth in

 preceding paragraphs as if fully stated herein.

        83.     Defendants are liable to Plaintiff OSCAR MOLINA under a products liability

 theory for marketing a defectively-designed product, as well as for failing to adequately warn of

 the risk of severe neurological injury caused by chronic, low-dose exposure to Paraquat.

        85.     At all relevant times, the Syngenta Defendants, Does One through Sixty, and their

 corporate predecessors designed, manufactured, distributed, and sold Paraquat for use in the State

 of California and State of Texas.

        86.       At all relevant times and places, the Paraquat that the Syngenta Defendants,

 Does One through Sixty, and their corporate predecessors designed, manufactured, distributed, and

 sold was used in the intended or a reasonably foreseeable manner.
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        87.      Plaintiff OSCAR MOLINA was exposed to Paraquat that the Syngenta Defendants,

 Does One through Sixty, and their corporate predecessors designed, manufactured, distributed, and

 sold. As a result of that exposure, Paraquat entered Plaintiff OSCAR MOLINA’s body causing

 Plaintiff to develop Parkinson’s disease.

        88.      The Paraquat thatthe Syngenta Defendants, Does One through Sixty, and their

 corporate predecessors designed, manufactured, distributed, and sold did not perform as safely as

 an ordinary consumer would have expected it to perform when used in the intended or a reasonably

 foreseeable manner, in that:

                a.      as designed, manufactured, formulated and packaged Paraquat was likely to
        be inhaled, ingested, and absorbed into the bodies of persons who used it, who were nearby

        while it was being used, or who entered fields or orchards where it had been sprayed (or

        areas near where it had been sprayed); and

                b.      when inhaled, ingested, or absorbed into the body, it was likely to cause

        neurological damage that was both permanent and cumulative, and repeated low-dose

        exposures were likely to cause neurodegenerative disease, including Parkinson’s disease.

        89.    Alternatively, the Syngenta Defendants, Does One through Sixty, and their corporate

 predecessors’ Paraquat products were defectively designed in that the risk of danger inherent in the

 challenged design outweighed the benefits of such design, considering, among other relevant

 factors, the gravity of the danger posed by the challenged design, the likelihood that such danger

 would occur, the mechanical feasibility of a safer alternative design, the financial cost of an

 improved design, and the adverse consequences to the product and to the consumer that would result

 from an alternative design.

        90.      The design defect existed when the Paraquat left the Syngenta Defendants,

 Does One through Sixty, and their corporate predecessors’ possession and control.
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        WHEREFORE, Plaintiff OSCAR MOLINA respectfully requests that this Court enter

 judgment in Plaintiff’s favor for compensatory and punitive damages, together with interest, costs

 herein incurred, attorneys’ fees and all relief as this Court deems just and proper. Additionally,

 Plaintiff OSCAR MOLINA demands a jury trial on all issues contained herein.

                                      COUNT II
                     STRICT PRODUCTS LIABILITY FAILURE TO WARN

        91.     Plaintiff OSCAR MOLINA incorporates by reference each allegation set forth in

        preceding paragraphs as if fully stated herein.

        92.    Defendants are also liable to Plaintiff OSCAR MOLINA under a products liability

 theory based on their failure to adequately warn of the risks of Paraquat.

        93.          When the Syngenta Defendants, Does One through Sixty, and their corporate

 predecessors manufactured and sold the Paraquat to which Plaintiff was exposed, it was known or

 knowable to the Syngenta Defendants, Does One through Sixty, and their corporate predecessors

 in light of scientific knowledge that was generally accepted in the scientific community that:

                a.        Paraquat was designed, manufactured, formulated, and packaged such that

        it was likely to be inhaled, ingested, and absorbed into the bodies of persons who used it,

        who were nearby while it was being used, or who entered fields or orchards where it had

        been sprayed or areas near where it had been sprayed; and

                b.         when inhaled, ingested, or absorbed into the body, it was likely cause latent

        neurological damage that was both permanent and cumulative, and that repeated, low-dose

        exposures were likely to cause neurodegenerative disease, including Parkinson’s disease.

        94.    The risk of contracting Parkinson’s disease from chronic, low-dose exposure to

 Paraquat presented a substantial danger to users of Paraquat when the product was used in a

 reasonably foreseeable manner.

        95.    An ordinary consumer would not have recognized the potential risk of permanent,

 irreversible neurological damage, including the risk of contracting Parkinson’s disease, from
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 chronic, low-dose exposure to Paraquat.

         96.    The Syngenta Defendants, Does One through Sixty, and their corporate predecessors

 failed to warn of the potential risk of permanent, irreversible neurological damage from chronic,

 low-dose exposure to Paraquat, and failed to provide adequate instructions regarding avoidance of

 these risks.

         97.    As a direct and proximate result of the Syngenta Defendants, Does One through Sixty,

 and their corporate predecessors’ marketing of a defective product, Plaintiff OSCAR MOLINA

 suffered the injuries described in this Complaint.

             WHEREFORE, Plaintiff OSCAR MOLINA respectfully requests that this Court enter

  judgment in Plaintiff OSCAR MOLINA’s favor for compensatory and punitive damages, together

  with interest, costs herein incurred, attorneys’ fees and all relief as this Court deems just and

  proper. Additionally, Plaintiff OSCAR MOLINA demands a jury trial on all issues contained

  herein.

                                            COUNT III
                                           NEGLIGENCE

         98.     Plaintiff OSCAR MOLINA incorporates by reference each allegation set forth in

 preceding paragraphs as if fully stated herein.

         99.     At all relevant times, the Syngenta Defendants, Does One through Sixty, and their

 corporate predecessors designed, manufactured, distributed, and sold Paraquat for use in the State

 of California and State of Texas.

         100.    Plaintiff OSCAR MOLINA was exposed to Paraquat in the State of Texas that

 the Syngenta Defendants, Does One through Sixty, and their corporate predecessors manufactured

 and sold.

         101.     The Paraquat to which Plaintiff OSCAR MOLINA was exposed was used in

 the intended or a reasonably foreseeable manner.
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        102.     At all times relevant to this claim, in researching, designing, manufacturing,

 packaging, labeling, distributing, and selling Paraquat, the Syngenta Defendants, Does One

 through Sixty, and their corporate predecessors owed a duty to exercise ordinary care for the health

 and safety of the persons whom it was reasonably foreseeable could be exposed to Paraquat,

 including Plaintiff OSCAR MOLINA.

        103.     When the Syngenta Defendants, Does One through Sixty, and their corporate

 predecessors designed, manufactured, packaged, labeled, distributed, and sold the Paraquat to

 which Plaintiff OSCAR MOLINA was exposed, it was reasonably foreseeable that Paraquat:

                a.      was likely to be inhaled, ingested, and absorbed into the bodies of persons

        who used it, who were nearby while it was being used, or who entered fields or orchards

        where it had been sprayed or areas near where it had been sprayed; and

                b.      when inhaled, ingested, or absorbed into the bodies of persons who used it,

        who were nearby while it was being used, or who entered fields or orchards where it has

        been sprayed or areas near where it has been sprayed, it was likely to cause neurological

        damage that was both permanent and cumulative, and repeated exposures were likely to

        cause neurodegenerative disease, including Parkinson’s disease.

        104.    In breach of the aforementioned duty to Plaintiff, the

 Syngenta Defendants, Does One through Sixty, and their corporate predecessors negligently:

                a.      failed to design, manufacture, formulate, and package Paraquat to make it

        unlikely to be inhaled, ingested, and absorbed into the bodies of persons who used it, who

        were nearby while it was being used, or who entered fields or orchards where it had been

        sprayed or areas near where it had been sprayed;

                b.     designed, manufactured, and formulated Paraquat such that it was likely to

        cause neurological damage that was both permanent and cumulative, and repeated
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       exposures were likely to cause clinically significant neurodegenerative disease, including

       Parkinson’s disease;

              c.       failed to conduct adequate research and testing to determine the extent to

       which exposure to Paraquat was likely to occur through inhalation, ingestion, and

       absorption into the bodies of persons who used it, who were nearby while it was being used,

       or who entered fields or orchards where it had been sprayed or areas near where it had been

       sprayed;

              d.      failed to conduct adequate research and testing to determine the extent to

       which Paraquat spray drift was likely to occur, including its propensity to drift, the distance

       it was likely to drift, and the extent to which Paraquat spray droplets were likely to enter

       the bodies of persons spraying it or other persons nearby during or after spraying;

              e.        failed to conduct adequate research and testing to determine the extent to

       which Paraquat was likely to cause or contribute to cause latent neurological damage that

       was both permanent and cumulative, and the extent to which repeated exposures were likely

       to cause or contribute to cause clinically significant neurodegenerative disease, including

       Parkinson’s disease;

              f.      failed to direct that Paraquat be used in a manner that would have made it

       unlikely to be inhaled, ingested, and absorbed into the bodies of persons who used it, who

       were nearby while it was being used, or who entered fields or orchards where it had been

       sprayed or areas near where it had been sprayed; and

              g.      failed to warn that Paraquat was likely to cause neurological damage that

       was both permanent and cumulative, and repeated exposures were likely to cause clinically

       significant neurodegenerative disease, including Parkinson’s disease.
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         105.   The Syngenta Defendants, Does One through Sixty, and their corporate predecessors

 knew or should have known that users would not realize the dangers of exposure to Paraquat and

 negligently failed to take reasonable steps to prevent the foreseeable risk of harm from exposure to

 Paraquat.

         106.   As a direct and proximate result of the Syngenta Defendants, Does One through Sixty,

 and their corporate predecessors’ negligence, Plaintiff OSCAR MOLINA suffered the injuries

 described in this Complaint.

         107.     Additionally, in the course of designing, manufacturing, packaging, labeling,

 distributing, and selling Paraquat, Chevron U.S.A., Inc., the Syngenta Defendants, Does One

 through Sixty, and their corporate predecessors violated laws, statutes, and regulations, including

 but not limited to: sections of Food & Agriculture Code, Division 7, Chapter 2 (Pesticides), sections

 of Title 3, California Code of Regulations, Division 6 (Pesticides), and Chapter 1951, Texas

 Structural Pest Control Act, of the Texas Occupations Code.

         108.   Plaintiff OSCAR MOLINA was a member of the class of persons that said laws,

 statutes, and regulations were intended to protect.

         109. The Syngenta Defendants, Does One through Sixty, and their corporate predecessors’

 violations of said laws, statutes, and regulations were also substantial factors in causing Plaintiff

 OSCAR MOLINA’s injuries.

         110.   The injuries that resulted from the Syngenta Defendants, Does One through Sixty,

 and their corporate predecessors’ violations were the kind of occurrence the laws, statutes, and

 regulations were designed to prevent.

         WHEREFORE, Plaintiff OSCAR MOLINA respectfully requests that this Court enter

 judgment in Plaintiff OSCAR MOLINA’s favor for compensatory and punitive damages, together

 with interest, costs herein incurred, attorneys’ fees and all relief as this Court deems just and proper.

 Additionally, Plaintiff OSCAR MOLINA demands a jury trial on all issues contained herein.
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                                  COUNT IV
               BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY

        111.    Plaintiff OSCAR MOLINA incorporates by reference each allegation set forth in

 preceding paragraphs as if fully stated herein.

        112.    At all relevant times, the Syngenta Defendants, Does One through Sixty, and their

 corporate predecessors engaged in the business of designing, manufacturing, distributing, and

 selling Paraquat and other restricted-use pesticides and held themselves out as having special

 knowledge or skill regarding Paraquat and other restricted-use pesticides.

        113.     At all relevant times, the Syngenta Defendants, Does One through Sixty, and their

 corporate predecessors designed, manufactured, distributed, and sold Paraquat for use in the State

 of California and State of Texas.

        114.    Plaintiff OSCAR MOLINA was exposed to Paraquat in the State of Texas that

 the Syngenta Defendants, Does One through Sixty, and their corporate predecessors designed,

 manufactured, distributed, and sold.

        115.    The Paraquat to which Plaintiff OSCAR MOLINA was exposed was not fit for the

 ordinary purposes for which it was used, and in particular:

                a.      it was designed, manufactured, formulated, and packaged such that it was

        likely to be inhaled, ingested, and absorbed into the bodies of persons who used it, who

        were nearby while it was being used, or who entered fields or orchards where it had been

        sprayed or areas near where it had been sprayed; and
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                 b.     when inhaled, ingested, or absorbed into the bodies of persons who used it,

        who were nearby while it was being used, or who entered fields or orchards where it had

        been sprayed or areas near where it had been sprayed, it was likely to cause neurological

        damage that was both permanent and cumulative, and repeated exposures were likely to

        cause neurodegenerative disease, including Parkinson’s disease.

        116.      As a direct and proximate result of the Syngenta Defendants, Does One through

 Sixty, and their corporate predecessors’ breach of implied warranty, Plaintiff OSCAR MOLINA

 suffered the injuries herein described.

            WHEREFORE, Plaintiff OSCAR MOLINA respectfully requests that this Court enter

  judgment in Plaintiff OSCAR MOLINA’s favor for compensatory and punitive damages, together

  with interest, costs herein incurred, attorneys’ fees and all relief as this Court deems just and

  proper. Additionally, Plaintiff OSCAR MOLINA demands a jury trial on all issues contained

  herein.

                                       COUNT V PUNITIVE
                                          DAMAGES

        117.      Plaintiff OSCAR MOLINA incorporates by reference each allegation set forth in

 preceding paragraphs as if fully stated herein.

        118.     Defendants’ conduct as alleged herein was done with oppression, fraud, and malice.

 Defendants were fully aware of the safety risks of Paraquat. Nonetheless, Defendants deliberately

 crafted their label, marketing, and promotion of Paraquat to mislead farmers and consumers.

        119.      This was not done by accident or through some justifiable negligence. Rather,

 Defendants knew that it could turn a profit by convincing the agricultural industry that Paraquat

 did not cause Parkinson’s Disease, and that full disclosure of the true risks of Paraquat would limit

 the amount of money Defendants would make selling Paraquat in California and Texas.
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 Defendants’ objective was accomplished not only through its misleading labeling, but through a

 comprehensive scheme of selective fraudulent research and testing, misleading advertising, and

 deceptive omissions as more fully alleged throughout this Complaint. Plaintiff was denied the right

 to make an informed decision about whether to purchase, use, or be exposed to an herbicide,

 knowing the full risks attendant to that use. Such conduct was done with conscious disregard of

 Plaintiff OSCAR MOLINA’s rights.

        120.      There is no indication that Defendants will stop their deceptive and unlawful

 marketing practices unless they are punished and deterred. Accordingly, Plaintiff OSCAR

 MOLINA requests punitive damages against the Defendants for the harms caused to Plaintiff.

            WHEREFORE, Plaintiff OSCAR MOLINA respectfully requests that this Court enter

  judgment in Plaintiff OSCAR MOLINA’s favor for compensatory and punitive damages, together

  with interest, costs herein incurred, attorneys’ fees and all relief as this Court deems just and

  proper. Additionally, Plaintiff OSCAR MOLINA demands a jury trial on all issues contained

  herein.

                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiff requests this Court to enter judgment in Plaintiff’s favor and

 against the Defendants for:

                 a.     actual or compensatory damages in such amount to be determined at trial

        and as provided by applicable law;

                 b.     exemplary and punitive damages sufficient to punish and deter the

        Defendants and others from future fraudulent practices;

                 c.     pre-judgment and post-judgment interest;
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              d.       costs including reasonable attorneys’ fees, court costs, and other litigation

       expenses; and

              e.       any other relief the Court may deem just and proper.




 Dated: October 30, 2024                      Respectfully submitted,

                                               BAILEY COWAN HECKAMAN PLLC


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                                               ATTORNEYS FOR PLAINTIFF
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                                    JURY TRIAL DEMAND

       Plaintiff demands a trial by jury on all of the triable issues within this pleading.


 Dated: October 30, 2024                       Respectfully submitted,

                                               BAILEY COWAN HECKAMAN PLLC


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